397 F.2d 977
    UNITED STATES ex rel. Chester ORSINI, Appellant,v.Frederick REINCKE, Warden, Appellee.
    No. 530.
    Docket 32348.
    United States Court of Appeals Second Circuit.
    Argued June 13, 1968.
    Decided June 24, 1968.
    
      Igor I. Sikorsky, Jr., Hartford, Conn., for appellant.
      Richard P. Sperandeo, Asst. State's Atty., New Haven, Conn. (George R. Tiernan, State's Atty., on the brief), for appellee.
      Before SMITH, KAUFMAN and HAYS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Chester Orsini, confined in the Connecticut State Prison after conviction of aiding and abetting the commission of an abortion, sought relief by writ of habeas corpus on the ground that the conviction was void for lack of jurisdiction of the person and for lack of a speedy trial. The District Court for the District of Connecticut, M. Joseph Blumenfeld, Judge, after hearing, denied relief, and Orsini appeals. We affirm the judgment on the grounds given in Judge Blumenfeld's thorough and reasoned opinion. 286 F.Supp. 974.
    
    